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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 VIBRON LLOYD,                        )
                                      )
                    Plaintiff,        )
                                      )
                    v.                )
                                      )               Case No. 1:16CV09890
 CITY OF CHICAGO, a municipal )
 corporation, OFFICER ROBERT FISCHER, )               Honorable Sara L. Ellis
 #17901 and OFFICER JOSE PELAYO )
 #10417,                              )               JURY TRIAL DEMANDED
                                      )
                    Defendants.       )

                              THIRD AMENDED COMPLAINT

        Plaintiff, VIBRON LLOYD, by his attorney, Brad J. Pawlowski of FRITZSHALL &

PAWLOWSKI, complaining of Defendants, CITY OF CHICAGO, a municipal corporation,

OFFICER ROBERT FISCHER #17901 (“FISCHER”), and OFFICER JOSE PELAYO #10417

(“PELAYO”), alleges as follows:

                                 JURISDICTION AND VENUE

1.      This action is brought pursuant to the Civil Rights Act of 1971, 42 U.S.C. §§ 1983 and

1988.

2.      The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331 and 1343.

3.      The acts and omissions giving rise to Plaintiff’s claims occurred at or about 4031 West

Madison Street and 3151 West Harrison Street, Chicago, Illinois, and therefore, pursuant to 28

U.S.C. § 1391 (b), the appropriate venue for this action is the United States District Court for the

Northern District of Illinois, Eastern Division.
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                               IDENTIFICATION OF PARTIES

4.     At all times relevant, Plaintiff VIBRON LLOYD was a resident of the City of Chicago,

County of Cook, State of Illinois.

5.     At all times relevant, Plaintiff VIBRON LLOYD was a citizen of the State of Illinois,

United States of America, and was entitled to all of the rights, privileges, and immunities accorded

to all citizens of the United States of America.

6.     At all times relevant, Defendant CITY OF CHICAGO was a municipal corporation located

in Cook County, Illinois, and under the purview of the laws of the State of Illinois. Defendant

CITY OF CHICAGO is the employer and principal of the Chicago Police Department and its

agents and employees.

7.     Defendant FISCHER is a resident of the State of Illinois and the United States. At all

relevant times, Defendant FISCHER was employed as a police officer for Defendant CITY OF

CHICAGO and was acting within the scope of his employment as a Chicago police officer.

Defendant FISCHER committed the acts and omissions complained of herein while acting within

the scope and course of his employment and official duties as a police officer for Defendant CITY

OF CHICAGO. He is sued in his individual capacity.

8.     Defendant PELAYO is a resident of the State of Illinois and the United States. At all

relevant times, Defendant PELAYO was employed as a police officer for Defendant CITY OF

CHICAGO and was acting within the scope of his employment as a Chicago police officer.

Defendant PELAYO committed the acts and omissions complained of herein while acting within

the scope and course of his employment and official duties as a police officer for Defendant CITY

OF CHICAGO. He is sued in his individual capacity.




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                                 COMMON ALLEGATIONS

9.      On or about July 30, 2015, Plaintiff VIBRON LLOYD was operating a motor vehicle on

West Madison Street in Chicago, Illinois, at or about 4031 West Madison Street.

10.     At or about 4031 West Madison Street, a marked Chicago police vehicle pulled over

Plaintiff’s motor vehicle.

11.     Defendants FISCHER and PELAYO approached Plaintiff VIBRON LLOYD’s vehicle as

part of the traffic stop.

12.      Defendants FISCHER and PELAYO inquired as to whether Plaintiff VIBRON LLOYD’s

motor vehicle contained drugs or weapons.

13.     Plaintiff VIBRON LLOYD advised that there were no drugs or weapons in the vehicle or

in his possession.

14.     Defendant PELAYO instructed the passengers of Plaintiff VIBRON LLOYD’s vehicle to

exit Plaintiff’s motor vehicle and walk away from the scene of the traffic stop.

15.     After the occupants left the vehicle, without lawful justification, Defendant FISCHER

handcuffed Plaintiff VIBRON LLOYD, and placed him inside the marked Chicago Police vehicle

operated by Defendant FISCHER and/or PELAYO.

16.     Defendants FISCHER and PELAYO searched Plaintiff VIBRON LLOYD’s motor vehicle,

which included the front and back seats, glove compartment(s), bags within the motor vehicle, and

attempted to rip open panels of the vehicle’s doors. Defendant FISCHER used profanity directed

at Plaintiff VIBRON Lloyd while conducting this search.

17.     After the search concluded, Defendant FISCHER physically and verbally abused Plaintiff

VIBRON LLOYD.




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18.     Plaintiff VIBRON LLOYD requested Defendant FISCHER refrain from striking him to

avoid serious physical injury, including further injury to a surgical site on his abdomen.

19.     Defendant FISCHER repeatedly struck Plaintiff VIBRON LLOYD in the abdomen with

a closed fist, causing Plaintiff VIBRON LLOYD to vomit.

20.     Defendants FISCHER and PELAYO forced Plaintiff VIBRON LLOYD to the ground.

21.     Defendant FISCHER struck Plaintiff VIBRON LLOYD’s head on the pavement, causing

further physical injury to Plaintiff VIBRON LLOYD.

22.     Defendant PELAYO then again struck Plaintiff VIBRON LLOYD in the right side of his

abdomen.

23.     Defendant PELAYO tightened Plaintiff VIBRON LLOYD’s handcuffs excessively

causing further injury to Plaintiff VIBRON LLOYD.

24.     Defendants FISCHER and PELAYO transported Plaintiff VIBRON LLOYD to the 11th

district police station located at 3151 West Harrison Street, Chicago, Illinois.

25.     Plaintiff VIBRON LLOYD repeatedly requested but was denied medical attention

throughout this course of events.

26.     Defendant FISCHER responded to Plaintiff VIBRON LLOYD’s requests for medical

attention with further profanity and/or other aggressive conduct.

27.     Plaintiff VIBRON LLOYD’s motor vehicle was stopped by Defendants FISCHER and

PELAYO due to the appearance of his vehicle and race of its occupants.

28.     Such stop was made in accordance with Defendant CITY OF CHICAGO’s long-standing,

widespread and well-settled practice and custom of directing and/or training its patrol officers to

stop and search all vehicles, based solely upon the vehicles fitting a general description and

containing non-Caucasian occupants.



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29.     Specifically, during his transport to the police station and while detained in the back of the

squad car, Plaintiff VIBRON LLOYD asked PELAYO and FISCHER why he was pulled over in

the first place. Defendant FISCHER responded by stating that it was due to the “rims” on the

vehicle and the fact that the vehicle contained “black guys.” Defendant FISCHER then went on to

explain that “[their] [FISCHER’s and PELAYO’s] commander told [them] that if [they] see more

than two black guys in a vehicle with rims on it, pull them over and search for guns and drugs.”

See Page 3, ¶18, of Plaintiff’s Original Complaint, attached hereto.

30.     Plaintiff VIBRON LLOYD again requested but was refused and denied medical attention

while detained at the CITY OF CHICAGO police station.

31.     Plaintiff VIBRON LLOYD sustained injuries as a result of the conduct of Defendants

FISCHER and PELAYO.

32.     Defendants FISCHER and PELAYO took no action to secure appropriate medical

treatment for Plaintiff VIBRON LLOYD while he was in the custody of Defendant CITY OF

CHICAGO.

33.     Defendants FISCHER and PELAYO violated Defendant CITY OF CHICAGO’s policies

and procedures by ignoring Plaintiff VIBRON LLOYD’s requests for medical attention while he

was in the custody of Defendant CITY OF CHICAGO.

                                          COUNT I
                 VIBRON LLOYD v. OFFICER ROBERT FISCHER #17901
                    Violation of Civil Rights – 42 U.S.C. §§ 1983 and 1988

34.     Plaintiff hereby reasserts paragraphs one (1) through thirty-three (33) as though fully set

forth herein.

35.     On July 30, 2015, and at all times relevant, the Fourth, Eighth, and Fourteenth Amendments

to the United States Constitution prohibited unreasonable seizure of a person and cruel and unusual



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punishment by a police officer of Defendant CITY OF CHICAGO, like Defendant FISCHER,

acting under color of law.

36.       On July 30, 2015, the actions of Defendants FISCHER violated the Fourth, Eighth, and

Fourteenth Amendment rights of Plaintiff VIBRON LLOYD under the United States Constitution

and were in violation of 42 U.S.C. §§ 1983 and 1988.

37.       As a proximate result of the actions of Defendant FISCHER, Plaintiff VIBRON LLOYD

sustained injuries of a personal and pecuniary nature, including violations of his Constitutional

rights.

          WHEREFORE, pursuant to 42 U.S.C. §§ 1983 and 1988, Plaintiff VIBRON LLOYD

demands judgment against Defendant FISCHER for compensatory damages, punitive damages,

attorneys’ fees, costs, and for such other relief that this court deems just and equitable.

                                            COUNT II
                     VIBRON LLOYD v. OFFICER JOSE PELAYO #10417
                      Violation of Civil Rights – 42 U.S.C. §§ 1983 and 1988

38.       Plaintiff hereby reasserts paragraphs one (1) through thirty-seven (37) as though fully set

forth herein.

39.       On July 30, 2015, and at all times relevant, the Fourth, Eighth, and Fourteenth Amendments

to the United States Constitution prohibited unreasonable seizure of a person and cruel and unusual

punishment by a police officer of Defendant CITY OF CHICAGO, like Defendant PELAYO,

acting under color of law.

40.       On July 30, 2015, the actions of Defendant PELAYO violated the Fourth, Eighth, and

Fourteenth Amendment rights of Plaintiff VIBRON LLOYD under the United States Constitution

and were in violation of rights protected by 42 U.S.C. §§ 1983 and 1988.




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41.       As a proximate result of the actions of Defendant PELAYO, Plaintiff VIBRON LLOYD

sustained injuries of a personal and pecuniary nature, including violations of his Constitutional

rights.

          WHEREFORE, Plaintiff VIBRON LLOYD demands judgment against Defendant

PELAYO for compensatory damages, punitive damages, attorneys’ fees, costs, and for such other

relief that this court deems just and equitable.

                                             COUNT III
                            VIBRON LLOYD v. CITY OF CHICAGO
                       Violation of Civil Rights – 42 U.S.C. §§ 1983 and 1988

42.       Plaintiff hereby reasserts paragraphs one (1) through forty-one (41) as though fully set forth

herein.

43.       This action is brought pursuant to the laws of the United States Constitution, 42 U.S.C. §§

1983 and 1988, and the laws of the State of Illinois to redress deprivations of the civil rights of

Plaintiff VIBRON LLOYD accomplished by acts or omissions of Defendants committed under

color of law.

44.       On July 30, 2015, Defendants FISCHER and PELAYO were acting under the color of law,

and violated the Fourth, Eighth, and Fourteenth Amendment rights of Plaintiff VIBRON LLOYD

under the United States Constitution and were in violation of rights protected by 42 U.S.C. §§

1983 and 1988.

45.       As a proximate result of the actions of Defendants FISCHER and PELAYO, Plaintiff

VIBRON LLOYD sustained injuries of a personal and pecuniary nature, including violations of

his Constitutional rights.

46.       At all relevant times, Defendants FISCHER and PELAYO were employed as police

officers of Defendant CITY OF CHICAGO and committed the above acts and omissions alleged



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under color of law and in the scope of their employment as Chicago Police officers employed by

the CITY OF CHICAGO.

          WHEREFORE, should Defendants FISCHER and PELAYO be found liable for any claims

in this action, Plaintiff VIBRON LLOYD demands that Defendant CITY OF CHICAGO pay to

Plaintiff any judgment obtained against Defendants FISCHER and PELAYO.

                                             COUNT IV
                            VIBRON LLOYD v. CITY OF CHICAGO
                       Violation of Civil Rights – 42 U.S.C. §§ 1983 and 1988

47.       Plaintiff hereby reasserts paragraphs one (1) through forty-six (46) as though fully set forth

herein.

48.       This action is brought pursuant to the laws of the United States Constitution, 42 U.S.C. §§

1983 and 1988, and the laws of the State of Illinois to redress deprivations of the civil rights of

Plaintiff VIBRON LLOYD accomplished by acts or omissions of Defendants committed under

color of law.

49.       Plaintiff VIBRON LLOYD suffered severe injuries at the hands of Defendants PELAYO,

FISCHER and CITY OF CHICAGO, resulting from the illegal stop, search and seizure of his

person and his vehicle, pursuant to Defendant CITY OF CHICAGO’s long-standing, widespread

and well-settled practice and custom of stopping and searching all vehicles, based solely upon

those vehicles fitting a general description and containing non-Caucasian occupants.

50.       On July 30, 2015, the deprivation of the civil rights of Plaintiff VIBRON LLOYD occurred,

in part, due to a policy or custom allowed to exist relative to the stop, seizure, detention, and

treatment of Plaintiff VIBRON LLOYD.




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         WHEREFORE, Plaintiff VIBRON LLOYD demands judgment against Defendant CITY

OF CHICAGO for compensatory damages, punitive damages, attorneys’ fees, costs, and for such

other relief that this court deems just and equitable.



Dated:                                                   Respectfully submitted,


                                                         /s/ Brad J. Pawlowski
                                                         One of Vibron Lloyd’s Attorneys

                                                         Brad J. Pawlowski
                                                         FRITZSHALL & PAWLOWSKI
                                                         6584 N. Northwest Highway
                                                         Chicago, IL 60631




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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that a copy of the attached, Third Amended
Complaint at Law, was served upon all parties by electronically filing the same with the Clerk of
the United States District Court for the Northern District of Illinois on ________.


                                            By:     /s/ Brad J. Pawlowski
                                                    One of Vibron Lloyd’s Attorneys
